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    Fill in this information to identify your case:

    Debtor 1                  Rakesh Kumar Bains
                              First Name                  Middle Name                    Last Name
    Debtor 2                  Baljit Kaur Bains
    (Spouse if, filing)       First Name                  Middle Name                    Last Name

    United States Bankruptcy Court for the:          EASTERN DISTRICT OF CALIFORNIA

    Case number           24-20884
    (If known)                                                                                                                              Check if this is an
                                                                                                                                            amended filing



   Official Form 107
   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           i04/22
   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
   number (if known). Answer every question.

    Parti:          Give Details About Your Marital Status and Where You Lived Before

   1.     What is your current marital status?

                  Married
                  Not married

   2.     During the last 3 years, have you lived anywhere other than where you live now?

          ■       No
                  Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

           Debtor 1:                                            Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                     lived there

   3.   LWithin the last 8 years, did ,you ever live with a spouse
                                                              ,      or legal equivalent
                                                                               .         in a community property state or territory? (Community property
                                                                                                      ....
   states and tem'tories include Arizona, Californra, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                  No
          ■       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

    Part 2          Explain the Sources of Your Income

   4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
          If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                  No
          ■       Yes. Fill in the details.

                                                   Debtor i .     '     . ;                                   i   i Debtor 2
                                                   Sources of income                Gross income                  Sources of Income             Gross income
                                                   Check all that apply.            (before deductions and        Check all that apply.         (before deductioris
                                                                                  ' exclusions)                                                 and exclusions)

    From January 1 of current year until             Wages, commissions,                              $0.00       ■ Wages, commissions,                 $13,500.00
    the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips
                                                      Operating a business                                        <□ Operating a business




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    Debtor 2     Baljit Kaur Bains                                                                       Case number Vf known)     24-20884


                                                ; Debtor 1                                                       : Debtor 2
                                                  Sources of income               Gross income                   Sources of income            Gross income
                                                : Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                  exclusions)                                                 and exclusions)

                                                 □ Wages, commissions,                               $0.00       □ Wages, commissions,                $6,567.88
                                                 bonuses, tips                                                   bonuses, tips

                                                 □ Operating a business                                           B Operating a business


    For last calendar year:                      □ Wages, commissions,                               $0.00       ■ Wages, commissions,               $49,793.00
    (January 1 to December 31, 2023 )            bonuses, tips                                                   bonuses, tips
                                                 □ Operating a business                                           □ Operating a business


                                                 ■ Wages, commissions,                        $20,000.00         □ Wages, commissions,               $26,507.00
                                                 bonuses, tips                                                   bonuses, tips

                                                 ■ Operating a business                                           B Operating a business


    For the calendar year before that:           ■ Wages, commissions,                         $1,050.00         B Wages, commissions,               $62,799.00
    (January 1 to December 31, 2022 )            bonuses, tips                                                   bonuses, tips

                                                 □ Operating a business                                           □ Operating a business


   S.    Did you receive any other Income during this year or the two previous calendar years?
         Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
         and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
         winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

         List each source and the gross income from each source separately. Do not include income that you listed in line 4.

         B     No
         □     Yes. Fill in the details.

                                                i Debtor 1 .                                                 i   i Debtor 2
                                                  Sources of Income               Gross Income from                Sources of Income          Gross Income
                                                  Describe below.                 each source                      Describe below.            (before deductions
                                                                                  (before deductions and                                      and exclusions)
                                                                                  exclusions)

    Parts:      List Certain Payments You Made Before You Filed for Bankruptcy

   6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
         B No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as "incurred by an
                    individual primarily for a personal, family, or household purpose."

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        □ No.       Go to line 7.
                         B Yes      List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                    paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                    not include payments to an attorney for this bankruptcy case.
                        * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         □     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         □ No.      Go to line 7.
                         □ Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                    include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                    attorney for this bankruptcy case.


          Creditor's Name and Address                        Dates of payment              Total amount           Amount you       Was this payment for...
                                                                                                   paid             still owe

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    Debtor 2     Baljit Kaur Bains                                                                     Case number {if known}   24-20884


         Creditor’s Name and Address                      Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                paid            still owe
         Flagstar Bank                                    regular payments                 $4,975.00         $375,920.00        ■ Mortgage
         5151 Corprate Dr                                 in past 90 days                                                       □ Car
         Troy, Ml 48098-2639                                                                                                    □ Credit Card
                                                                                                                                □ Loan Repayment
                                                                                                                                □ Suppliers or vendors
                                                                                                                                □ Other_

         The Golden 1 Credit Union                        regular payments                       $0.00        $57,433.00        □ Mortgage
         PO Box 15249                                     in past 90 days                                                       ■ Car
         Sacramento, CA 95851-0249                                                                                              □ Credit Card
                                                                                                                                □ Loan Repayment
                                                                                                                                □ Suppliers or vendors
                                                                                                                                □ Other


         GWI Financial                                    regular payments                      $0.00         $63,808.00        □ Mortgage
         PO Box 183593                                    in past 90 days                                                       ■ Car
         Arlington, TX 76096-3834                                                                                               □ Credit Card
                                                                                                                                □ Loan Repayment
                                                                                                                                n Suppliers or vendors
                                                                                                                                □ Other


         The Golden 1 Credit Union                        regular payments                       $0.00        $57,433.00        □ Mortgage
         PO Box 15249     ,                               in past 90 days                                                       ■ Car
         Sacramento, CA 95851-0249                                                                                              □ Credit Card
                                                                                                                                □ Loan Repayment
                                                                                                                                □ Suppliers or vendors
                                                                                                                                □ Other


   7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
        Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
        of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
        a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
        alimony.

        ■      No
        □ Yes. List all payments to an insider.
         Insider’s Name and Address                       Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe

   8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
        Insider?
        Include payments on debts guaranteed or cosigned by an insider.

        ■      No
        □      Yes. List all payments to an insider
         Insider's Name and Address                       Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe       Include creditor's name




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    Debtor 2     Baljit Kaur Bains                                                                           Case number {if known)    24-20884


    Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

   9.   Within 1 year before you filed for bankruptcy, were you a party In any lawsuit, court action, or admiriistrative proceeding?
        List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
        modifications, and contract disputes.

        ■      No
        □      Yes. Fill in the details.
         Case title                                              Nature of the case           Court or agency                          Status of the case
         Case number

   10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
       Check all that apply and fill in the details below.

        □      No. Go to line 11.
        ■      Yes. Fill in the information below.
         Creditor Name and Address                               Describe the Property                                          Date                        Value of the'
                                                                                                                                                               property
                                                                 Explain what happened
         Crossroads Equipment Lease and                          2022 Kenworth VIN 2444                                         February 2024               $75,000.00
         Finance                                                 repossessed prior to filing
         PO "Box 101285
         Pasadena, CA 91189-1285                                 ■ Property was repossessed.
                                                                 □ Property was foreclosed.
                                                                 □ Property was garnished.
                                                                 □ Property was attached, seized or levied.


   11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial Institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
        ■      No
        □      Yes. Fill in the details.
         Creditor Name and Address                               Describe the action the creditor took                          Date actiori was                Amdurit
                                                                                                                                taken

   12. Within 1 year before you filed for bankruptcy, was any of your property In the possession of an assignee for the benefit of creditors, a
       court-appointed receiver, a custodian, or another official?

        ■      No
        □      Yes

    Part 5:     List Certain Gifts and Contributions

   13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        ■      No
        □      Yes. Fill in the details for each gift.
         Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
         per person                                                                                                             the gifts

         Person to Whom You Gave the Gift and
         Address:
   14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        ■      No
        □      Yes. Fill in the details for each gift or contribution.
         Gifts or contributions to charities that total               . Describe what you contributed                           Dates you                         Value
         more than $600                                                                                                         contributed
         Charity's Name
         Address (Number, street, Cily, state and ZIP Code)

    Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
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        or gambling?

        □      No
        ■      Yes. Fill in the details.
         Describe the property you lost and          Describe any insurance coverage for the loss                      bate of your        Value of property
         how the loss occurred                       Include the amount that insurance has paid. List pending          loss                             lost
                                                     insurance claims on line 33 of Schedute A/B: Property.
         2019 Great Dane Trailer                     Stolen from Shiper Street - 37137 Hickar Street                   3/1/24                    $60,000.00
                                                     Newark CA - covered by insurance claim
                                                     submitted

         2018 Great Dane Trailer                     Stolen from Natomas CA - covered by                               3/15/24                   $35,000.00
                                                     insurance - claim submitted


   Part 7:      List Certain Payments or Transfers

   16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
       consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        □      No
        ■      Yes. Fill in the details.
         Person Who Was Paid                                 Description and value of any property                     Date payment               Amount of
         Address                                             transferred                                               or transfer was             payment
         Email or website address                                                                                      made
         Person Who Made the Payment, if Not You
         Wolff & Wolff                                       Attorney Fees                                                                        $4,000.00
         8861 Williamson Drive, Suite 30
         Elk Grove, CA 95624
         attorneys@wolffandwolff.com



   17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
       promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

        ■      No
        □      Yes. Fill in the details.
         Person Who Was Paid                                  Description and value of any property                    Date payment               Amount of
         Address                                              transferred                                              or transfer was             payment
                                                                                                                       made

   18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
       transferred In the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
       include gifts and transfers that you have already listed on this statement.
        ■      No
        □      Yes. Fill in the details.
         Person Who Received Transfer                         Description and value of                   Describe any property or          Date transfer was
         Address                                              property transferred                       payments received dr debts        made
                                                                                                         paid in exchange .
         Person's relationship to you

   19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
       beneficiary? (These are often called asset-protection devices.)
        ■      No'
        □      Yes. Fill in the details.
         Name of trust                                        Description and value of the property transferred                            Date Transfer was
                                                                                                                                           made



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    Debtor?      Baljit Kaur Bains                                                                               Case number (/rknown)   24-20884

    Parts:      List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

   20.   Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
         sold, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; shares In banks, credit unions, brokerage
         houses, pension funds, cooperatives, associations, and other financial Institutions.
         ■     No
         □     Yes. Fill in the details.

         Name'of Financial Institution and                      Last 4 digits of              type of account or            Date account was            Last balance
         Address (Number, Street, City, Slate and ZIP           account number                Instrument                    closed, sold,           before closing or
         Code)                                                                                                              moyed, or                        transfer
                                                                                                                            transferred

   21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
         cash, or other valuables?

         ■     No
         □     Yes. Fill in the details.

         Name of Financial Institution                               Who else had access to it?                  Describe the contents               Do you still
         Address (Number, street. City, State and ZIP Code)          Address (Number, Street, City,                                                  have it?
                                                                     State and ZIP Code)

   22.   Have you stored property In a storage unit or place other than your homo within 1 year before you filed for bankruptcy?


         ■     No
         □     Yes. Fill in the details.

         Name of Storage Facility                                    Who else has or had access                  Describe the contents               Do you still
         Address (Number, Street, City, State and ZIP Code)          to it?                                                                          have It?
                                                                     Address (Number, street. City,
                                                                     State and ZIP Code)

    Parts:      Identify Property You Hold or Control for Someone Else

   23.   Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
         for someone.

         ■     No
         □     Yes. Fill in the details.

         Ovvher's Name                                               Where is the property?                      Describe the property                          Value
         Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, Stalo and ZIP
                                                                     Code)

    Part 10:    Give Details About Environmental Information

   For the purpose of Part 10, the following definitions apply:

   ■     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
         toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium. Including statutes or
         regulations controlling the cleanup of these substances, wastes, or material.
   ■     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize It or used
         to own, operate, or utilize it, including disposal sites.
   ■     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
         hazardous material, pollutant, contaminant, or similar term.

   Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

   24.   Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


         ■     No
         □     Yes. Fill in the details.

          Name of site                                                Governmental unit                             Environmental law, if you        Date of notice
          Address (Number, Street, City, Stalo and ZIP Code)          Address (Number, Street, City, State and      know it
                                                                      ZIP Code)



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    Debtor?      Baljit Kaur Bains                                                                              Case number yr known}   24-20884

   25. Have you notified any governmental unit of any release of hazardous material?

         ■ No
         □     Yes. Fill in the details.
         Name of site                                                Governmental unit                             Environmental law, if you         bate of notice
         Address (Number, Street, City, Slate and ZIP Code)          Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

   26. Have you been a party in any Judicial or administrative proceeding under any environmental law? Include settlements and orders.

         ■ No
         □     Yes. Fill In the details.
         Case Title                                                  Court or agency                            Nature of the case                   Status of the
         Case Number                                                 Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

    Part 11:    Give Details About Your Business or Connections to Any Business

   27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               □ A sole proprietor or self-employed In a trade, profession, or other activity, either full-time or part-time

               □ A member of a limited liability company (LLC) or limited liability partnership (LLP)

               □ A partner in a partnership

               □ An officer, director, or managing executive of a corporation

               ■ An owner of at least 5% of the voting or equity securities of a corporation

        □      No. None of the above applies. Go to Part 12.

        H      Yes. Check all that apply above and fill in the details below for each business.
         Business Name                                         Describe the nature of the business                  Employer Identification number
         Address                                                                                                    Dq not include Social Security number or ITIN.
         (Number, Street, City, Slate and ZIP Coda)            Name of accountant or bookkeeper
                                                                                                                    Dates business existed
         India Gate Inc                                        restaurant                                           EIN:       XX-XXXXXXX
         1905-1906 Capitol Ave
         Sacramento, CA 95811                                                                                       From-To     3/1/23 - present


         Bains Marinated Meat Shop                             marinated meat, butcher shop                         EIN:        XX-XXXXXXX
         8851 Calvine Rd Ste A
         Sacramento, CA 95828                                                                                       From-To     6/19/21 - present


         Redwing Carrier Inc                                   trucking                                             EIN:       XX-XXXXXXX
         9219 Lamprey Drive
         Elk Grove, CA 95624                                                                                        From-To     May 2012 -2024


   28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       Institutions, creditors, or other parties.

        ■      No
        □      Yes. Fill in the details below.
          Name                                                 Date Issued
        : Address
          (Number, street. City, State and ZIP Code)




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    Part 12:    Sign Below

   I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
   are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud In connection
   with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
   18 LL§jC,-§§-rjK2,1341,1519, and 3571.

    ■RaReshKumar Bains—•—)                                     Baijit Kaur Bains
    Signature of Debtor 1                                      Signature of Debtor 2

    Date     March 18, 2024                                    Date      March 18, 2024

   Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   ■ No
   □ Yes

   Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   ■ No
   □ Yes. Name of Person         . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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